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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

RANDALL DIETER,                                :
    Plaintiff,                                 :
                                               :
       v.                                      :                 CIVIL ACTION
                                               :                 NO. 18-1178
ANDREW SAUL,                                   :
Commissioner of the                            :
Social Security Administration,                :
       Defendant.                              :

                                           ORDER

       AND NOW, this 18th day of September, 2020, after review of the Report and

Recommendation of United States Magistrate Judge Carol Sandra Moore Wells (ECF No. 15),

Plaintiff’s Objections thereto (ECF No. 17), and Defendant’s Response to Plaintiff’s Objections

(ECF No. 19), it is hereby ORDERED as follows:

       1. The Report and Recommendation (ECF No. 15) is APPROVED and ADOPTED; and

       2. Plaintiff’s Request for Review (ECF No. 11) is DENIED.1


                                                          BY THE COURT:



                                                          /s/ C. Darnell Jones, II
                                                          C. DARNELL JONES, II J.




1
  On May 11, 2020, the Court mistakenly issued an Order (ECF No. 16) adopting and approving
the Report and Recommendation of United States Magistrate Judge Carol Sandra Moore Wells
without having received Plaintiff’s Objections. The Court vacated said Order on July 14, 2020.
(See Court’s Order, ECF No. 20).
